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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------
IN RE:
                                                                 Bankr. Case No. 09-10156 (ALG)
TRONOX INCORPORATED, et al.,                                     (Jointly Administered)

                           Debtors.

------------------------------------------------------------
TRONOX INCORPORATED, et al.,

                           Plaintiffs,                           Adversary Proceeding
                                                                 Case No. 09-01198 (ALG)

                  - against -

ANADARKO PETROLEUM CORPORATION,
et al.,

                           Defendants.
--------------------------------------------------------------
THE UNITED STATES OF AMERICA,

                           Plaintiff-Intervenor,

                  - against -

TRONOX, INC., et al.,

                           Defendants.
------------------------------------------------------------

              STATEMENT IN SUPPORT OF LITIGATION TRUST’S MOTION
                    FOR PARTIAL SUMMARY JUDGMENT AND
                      UNITED STATES’ JOINDER IN MOTION
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       The undersigned States and other non-federal governmental and sovereign entities (the

“Governmental Entities”) submit this statement to underscore their strong support of the

Anadarko Litigation Trust’s (“Litigation Trust’s”) Motion for Partial Summary Judgment,1

which asks the Court to reject a purported cap on damages advocated by the Anadarko

defendants (“Anadarko”) in this adversary proceeding. The undersigned Governmental Entities

are all signatories to the Environmental Settlement Agreement (“Settlement Agreement”),2 and

are parties that may benefit from the Litigation Trust’s recovery in the fraudulent conveyance

action. The imposition of a cap on the Litigation Trust’s recovery would adversely impact the

Governmental Entities, and would deprive them of the benefits they negotiated and expect under

both the Settlement Agreement and the Debtors’ Plan of Reorganization.3

       As described in the Litigation Trust’s Motion and in the United States’ Joinder,4 neither

the Settlement Agreement nor the Plan imposes - and neither was intended to impose - a cap on

the fraudulent conveyance action recovery against Anadarko. To the contrary, when executing

the Settlement Agreement, the Governmental Entities understood that 88 percent of the entire

uncapped recovery in that litigation would be paid to or for the benefit of the environmental

governmental creditors. Indeed, the litigation recovery cap proposed by Anadarko would be

inconsistent with the Settlement Agreement, which clearly contemplates the transfer of any



       1
        Plaintiff’s Motion for Partial Summary Judgment Regarding Plaintiff’s Recovery Under
Section 550(a) of the Bankruptcy Code, dated August 31, 2011 (Docket No. 257) (the “Motion”).
       2
           Settlement Agreement, , Ex. 1, as amended (Docket No. 2692).
       3
           Plan, Ex. A (Docket No. 2567),.
       4
       Joinder of the United States of America in the Litigation Trust’s Motion for Partial
Summary Judgment Regarding the Litigation Trust’s Recovery Under Section 550(a) of the
Bankruptcy Code, dated Aug. 31, 2011 (Docket No. 259) (the “Joinder”).



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litigation recovery to the Litigation Trust, in agreed proportions5 and with no cap, to address the

many environmental sites covered under the Settlement Agreement. See Settlement Agreement

¶¶ 119 and 124-126(a)-(d). Indeed, paragraph 119 of the Settlement Agreement expressly states

that the Debtors will establish a trust and “transfer all of their right, title and interest in the

Anadarko litigation to the Anadarko Litigation Trust” (emphasis added). There simply is no cap

or other limitation that can be read into this language.

        In addition, as described in the Litigation Trust’s Motion (pp. 6-13), applicable law

provides that no damages cap should be imposed on the fraudulent conveyance recovery in this

case. See 11 U.S.C § 550(a); see also In re Acequia, Inc., 34 F.3d 800, 811 (9th Cir. 1994). And

as further detailed in the Litigation Trust’s Motion (pp. 13-16), the Debtors’ transfer to the

Litigation Trust of their full and complete rights against Anadarko was made as part of the global

settlement with the Governmental Entities, and is exactly the kind of “benefit to the estate” that

justifies the Litigation Trust’s full, complete and uncapped recovery under Section 550(a) of the

Code. There is nothing unfair about this result. Indeed, to allow the Litigation Trust’s recovery

to be capped would unfairly benefit Anadarko.

        Among other things, the experience of the Governmental Entities is that even the best

estimates of environmental clean-up costs routinely prove to be too low, and actual costs

regularly exceed estimated costs. An uncapped recovery is especially appropriate in this case

because it would restore financial resources that Tronox would have had but for the fraud, and

would protect the Governmental Entities in the likely event that future environmental clean-up

costs ultimately exceed estimates. An uncapped recovery is one of the benefits that the

Governmental Entities negotiated and obtained under the Settlement Agreement and Plan. This

5
  The Settlement Agreement provides for 88% of the successful litigation proceeds to be
distributed to the environmental sites covered under the Agreement.


                                                    3
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benefit, in the case of a successful result, offsets the risk the Governmental Entities bear if the

litigation outcome is not successful.

       In the bankruptcy case, the Governmental Entities gave up valuable rights against the

Debtor, and cooperated in the estate’s divestiture of title to contaminated property in exchange

for a share of all the rights the estate had against Anadarko. Attempting to now limit their

recovery from the proceeds of the fraudulent conveyance action denies the Governmental

Entities the benefit of the bargain which they struck with the Debtors, unjustly enriches

Anadarko, and attempts to redefine the agreements upon which the entire Plan - and its support

by the Governmental Entities - was founded.

       Accordingly, for the reasons stated herein, in the Litigation Trust’s Motion, and in the

United States’ Joinder, the undersigned Governmental Entities urge the Court to reject

Anadarko’s contention that the Trust’s recovery in this adversary proceeding should be capped

and to grant the Litigation Trust’s Motion.

Dated: September 22, 2011                              Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I, Maureen F. Leary, hereby certify that on the 22nd day of September, 2011 I served a
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